842 F.2d 333
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.James PATE, Defendant-Appellant.
    No. 87-5928.
    United States Court of Appeals, Sixth Circuit.
    March 17, 1988.
    
      Before ENGEL, MERRITT and CORNELIA G. KENNEDY, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record and the briefs, and upon due consideration therof,
    
    
      2
      The Court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    